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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
In the Matter of the                           )
Federal Bureau of Prisons’ Execution           )
Protocol Cases,                                )
                                               )
LEAD CASE: Roane, et al. v. Barr               )       Case No. 19-mc-145 (TSC)
                                               )
THIS DOCUMENT RELATES TO:                      )
                                               )
Lee v. Barr, et al., 19-cv-2559                )
                                               )
Purkey v. Barr, et al., 19-cv-3214             )
                                               )
Nelson v. Barr, et al., 20-cv-557              )
                                               )

                                            ORDER

        For the reasons set forth in the accompanying Memorandum Opinion, the court hereby

GRANTS Plaintiffs’ Motion for a Preliminary Injunction (ECF No. 102).

        It is hereby ORDERED that Defendants (along with their respective successors in office,

officers, agents, servants, employees, attorneys, and anyone acting in concert with them) are

enjoined from executing Plaintiffs Daniel Lewis Lee, Wesley Ira Purkey, Dustin Lee Honken,

and Keith Dwayne Nelson until further order of this court.



Date: July 13, 2020


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




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